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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


TEREX SOUTH DAKOTA, INC.
TEREX USA, LLC                          Case No. 4:21-cv-00287

              Plaintiffs,
v.                                      JURY DEMAND

SINOBOOM NORTH AMERICA
LLC,

              Defendant.


     PLAINTIFFS TEREX SOUTH DAKOTA, INC. AND TEREX USA,
        LLC’S BRIEF IN SUPPORT OF ITS APPLICATION FOR
                   PRELIMINARY INJUNCTION
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            I.      NATURE AND STAGE OF THE PROCEEDING

      Terex South Dakota, Inc. and Terex USA, LLC (collectively “Terex” or

“Plaintiff”) initiated this lawsuit on January 28, 2021. Plaintiff asserts, among other

things, claims for federal trademark infringement and false designation of origin. As

this infringement will cause irreparable harm to Terex’s brand and reputation,

Plaintiff now files this application for preliminary injunction. Plaintiff is undertaking

efforts to formally serve the Complaint and Summons on Defendants, along with

this application.


                    II.    SUMMARY OF THE ARGUMENT

      Plaintiff Terex is a leading manufacturer of elevating work platforms and lift

equipment, including scissor lifts, boom lifts, and vertical lifts and has sold such

products under the Genie® brand since 1966.            Plaintiff’s products are easily

identified in the marketplace by Plaintiff’s distinctive blue color—a color used in

the industry exclusively by Genie (“GENIE BLUE”). As a result of, among other

things, decades of substantial advertising, promotion, and sale of products bearing

the GENIE BLUE Trademark over the last four decades, purchasers and end users

understand GENIE BLUE to be a source identifier of Plaintiff and associate GENIE

BLUE with Plaintiff.

      Given its long, continuous, and exclusive use of GENIE BLUE in association

with its products, Plaintiff has acquired strong, valid, and enforceable trademark


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rights in its GENIE BLUE marks. Additionally, plaintiff holds several federal

trademark registrations, including U.S. Registration No. 3540392 for the Genie Blue

color for “mobile elevating work platforms,” and U.S. Registration Nos. 5965074,

5970650, and 5970650 for the GENIE BLUE color for “aerial and elevated work

platforms, scissor lifts” where the base and platform basket of an elevating work

platform are shown in GENIE BLUE.

      Plaintiff acquired such rights well before the Defendant’s infringing,

unlawful, and actionable acts. In particular, only days ago, Sinoboom, a Chinese

manufacturer of mobile elevating work platforms and lifts, announced a change to

its current products that use a red color scheme. Specifically, Sinoboom North

America, LLC (“Sinoboom” or “Defendant”) announced that it was implementing a

new “blue color scheme” on its elevating working platforms in the United States.

This drastic change in color, is a clear attempt to trade off of Plaintiff’s extensive

goodwill and reputation developed in its registered GENIE BLUE Trademark in the

U.S. market.

      To prevail on this request for injunctive relief, Plaintiff will demonstrate that:

(1) a substantial likelihood of success in proving trademark infringement exists; (2)

a substantial threat of continuing irreparable injury will exist if the injunction is not

issued; (3) the threatened injury if the injunction is denied outweighs any harm that

will result if the injunction is granted; and (4) the grant of an injunction will not


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disserve the public interest. Daniels Health Scis., v. Vascular Health Scis., LLC, 710

F.3d, 579, 582 (5th Cir. 2013) (citing Byrum v. Landreth, 566 F.3d 442, 445 (5th

Cir. 2009)). To show a substantial likelihood of success, Plaintiff will establish that:

(1) it has a registered and protectable trademark, and (2) Defendant’s use of a similar

mark creates a likelihood of confusion. Paulsson Geophysical Servs., Inc. v. Sigmar,

529 F.3d 303, 309 (5th Cir. 2008).

      Here, through its extensive, continuous, and exclusive use, Plaintiff has

acquired protectable rights in its GENIE BLUE trademark as evidenced by several

registrations on the Principal Register of the United States Patent and Trademark

Office. Given the exclusivity of use and ownership of the GENIE BLUE trademark

by the Plaintiff, Defendant’s use of the same or substantially the same color on the

exact same type of products is likely, if not guaranteed, to cause confusion.

Additionally, absent an injunction, a substantial threat of continuing irreparable

injury will exist because Terex and Sinoboom are direct competitors with

irreversible consequences of lost goodwill and consumer confusion. See Clearline

Techs., Ltd. v. Cooper B-Line, Inc., 948 F.Supp.2d 691, 715 (S.D. Tex. 2013)

(“[w]here the infringement involves direct competitors, a finding of irreparable harm

may well be appropriate”).

      Over the course of four decades of exclusive use, Plaintiff has expended

substantial resources advertising and promoting its products and services to the


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public and as a result has acquired substantial goodwill in GENIE BLUE. Allowing

Sinoboom to continue to use Plaintiff’s duly registered and valuable mark will

substantially harm the Plaintiff as consumer confusion and loss of exclusivity of use

will inevitably follow. This injury to Plaintiff substantially outweighs any alleged

injury that the Defendant may face. For many years, Defendant has used its own red

color scheme to advertise and promote its products. Sinoboom only announced that

it was now implementing its infringing “blue color scheme” on January 19, 2021.

Based on Plaintiff’s quick action, Sinoboom would face no hardship when enjoined

from using Plaintiff’s GENIE BLUE trademark. Moreover, Defendant has no vested

interest in this infringing color scheme aside from trading off of Plaintiff’s reputation

and goodwill in the United States. Finally, a grant of an injunction will in no way

disserve the public interest; but would serve the public interest. The public has a

substantial interest in not being confused and its interest is “always served by

requiring compliance with Congressional statutes such as the Lanham Act and by

enjoining the use of infringing marks.” Quantum Fitness Corp. v. Quantum Lifestyle

Ctrs. L.L.C., 83 F.Supp.2d 810, 832 (S.D. Tex. 1999) (citations omitted). “Protecting

[Terex’s] valid trademark from infringement by a junior user does not disserve the

public interest.” Id.




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                 III.   FACTUAL BACKGROUND

A.     Plaintiff’s GENIE BLUE Trademark

       Plaintiff is and has been a leading global designer and manufacturer of lift

equipment since 1966. (Ex. 1, Meyers Decl. at ¶ 3.) Plaintiff’s product portfolio

includes a variety of elevated work platforms and lift equipment including telescopic

and articulated booms, scissor lifts, and vertical mast lifts. Plaintiff’s products have

long been recognized for their high quality, dependability, and safety among

purchasers and end users; accordingly, demand for Plaintiff’s products is high. Since

the 1980s, Plaintiff has continuously and exclusively used a distinctive blue color,

GENIE BLUE, in commerce throughout the United States to identify its lift

equipment and distinguish it from other companies. (Ex. 1, Meyers Decl. at ¶ 3.)

Representative images of Genie lifts bearing the GENIE BLUE trademark are set

forth below:




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      The GENIE BLUE color is a well-known, well-recognized, and dominant

source identifier that has obtained substantial goodwill with consumers and the

public. (Ex. 1, Meyers Decl. at ¶ 4.) Indeed, Plaintiff specifically advertises GENIE

BLUE as its distinguishing mark. (Id. at ¶ 7.) As an example, the following

advertising displays the GENIE BLUE as the “Color of Confidence” and encourages

its customers to “Think Blue”:




      As a result of, among other things, decades of substantial advertising,

promotion, and sale of products bearing the GENIE BLUE trademarks, purchasers

and end users understand Plaintiff’s trademarks to be a source identifier of Plaintiff

and associate Plaintiff’s trademarks with Plaintiff. (Ex. 1, Meyers Decl. at ¶ 9.)

Plaintiff has acquired strong, valid, and enforceable common law trademark rights


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in GENIE BLUE trademark for lift equipment. Additionally, plaintiff holds several

federal trademark registrations, including U.S. Registration No. 3540392 for the

Genie Blue color for “mobile elevating work platforms,” which has been duly

registered on the Principle Register of the U.S. Patent and Trademark Office since

June 29, 2006 and achieved an incontestability status.        (Ex. 2, Certificate of

Registration.) Plaintiff also holds U.S. Registration Nos. 5965074, 5970650, and

5970651 for the GENIE BLUE color for “aerial and elevated work platforms,

scissor lifts” where the base and platform basket of an elevating work platform are

shown in GENIE BLUE, which have been duly registered on the Principle Register

of the United States Patent and Trademark Office since January 2020. (Exs. 3-5.)

The GENIE BLUE Registrations are prima facie evidence of the validity of the

GENIE BLUE trademark. Plaintiff is the sole owner of all right, title, and interest in

and to the GENIE BLUE trademark, which are each assets of substantial value to

Plaintiff and enjoy worldwide recognition.

B.     Defendants and Their Wrongful Copying

       Sinoboom is a Chinese Manufacturer of mobile elevating work platforms and

aerial lifts, which was founded in 2008. (Ex. 1, Meyers Decl. at ¶ 11.) Since it was

founded, Sinoboom has sold its products using a red color scheme. (Id. at ¶ 12.) An

example of Sinoboom’s product using its red color scheme is shown below:




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      In July 2020, Sinoboom China opened a North American subsidiary—

Sinoboom North America. (Ex. 1, Meyers Decl. at ¶ 11.) On January 19, 2021,

Sinoboom North America announced that it was implementing a new “blue color

scheme” on its elevated working platforms in the United States. (Ex. 1 at Ex. C.)

The announcement stated that Sinoboom intends to “make a full product line-up

color change” set to appear on at least “Sinoboom scissor lifts as early as January

2021 in North America.” (Id.) The change from red to blue is presented below based

on an image at www.sinoboom.us:




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         Sinoboom’s recent and sudden adoption and use of Plaintiff’s GENIE BLUE

trademark—as soon as it entered the U.S. market—is designed to mislead the

consuming public, unfairly compete with Plaintiff, and pass off Sinoboom’s

products as associated with and/or originating from the Plaintiff. An exemplary, side

by side comparison of a Plaintiff’s product and a Defendant’s infringing product

(Ex. 6) shows the substantial similarity and confusion that is likely, if not certain, to

ensue:




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      As shown in the above exemplary sample, Sinoboom is brazenly copying the

Plaintiff’s trademark by coloring both the base and the platform basket of an

elevating work platform GENIE BLUE—a duly registered mark on the Principle

Register of the United States Patent and Trademark Office. Indeed, given that

registration on the Principle Register is prima facie evidence of validity and

constitutes constructive notice of the registration (not to mention the actual notice

provided by Plaintiff), Sinoboom’s use of the Plaintiff’s trademarks, with

constructive and/or actual notice, clearly shows the willful intent of Sinoboom to

misrepresent the source of Sinoboom’s goods so as to cause confusion, mistake, and

deception as to Sinoboom’s connection or association with Plaintiff and Plaintiff’s

trademark.


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                                     IV.     ARGUMENT

       Plaintiff seeks redress under the Lanham Act, 15 U.S.C. § 1051, et seq., and

Texas State law.1 Once a violation of the Lanham Act is demonstrated, injunctive

relief will readily issue pursuant to Section 34 thereof, 15 U.S.C. § 1116. See, e.g.,

Boston Professional Hockey Ass’n v. Dallas Cap & Emblem Mfg., Inc., 510 F.2d

1004, 1013 (5th Cir. 1975), cert. denied, 423 U.S. 868 (1975); Global Healing Ctr.

LP v. Nutritional Brands Inc., No. 4:14-CV-269, 2014 U.S. Dist. LEXIS 28686, at

*33 (S.D. Tex. Mar. 6, 2014). To prevail on this request for injunctive relief, Plaintiff

will demonstrate that: (1) a substantial likelihood of success in proving trademark

infringement exists; (2) a substantial threat of continuing irreparable injury will exist

if the injunction is not issued; (3) the threatened injury if the injunction is denied

outweighs any harm that will result if the injunction is granted; and (4) the grant of

an injunction will not disserve the public interest. Daniels Health Scis. LLC, 710

F.3d at 582. Nevertheless, Plaintiff “is not required to prove his case in full at a

preliminary injunction hearing.” Federal Sav. & Loan Ins. Corp. v. Dixon, 835 F.2d

554, 558 (5th Cir. 1987)(quoting University of Texas v. Camenisch, 451 U.S. 390,

395 (1981)).



       1
        Plaintiff asserts a cause of action for infringement of its registered trademark pursuant to
15 U.S.C. § 1114 and of its unregistered trademarks and trade dress pursuant to 15 U.S.C.
§ 1125(a).


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A.   Plaintiff is Highly Likely to Succeed on the Merits of its
Trademark Infringement and Unfair Competition Claims

      Lanham Act liability is established by showing that the defendant “uses in

commerce any word, term, name, symbol, or device” that is “likely to cause

confusion, or to cause mistake” about the “origin, sponsorship, or approval of his or

her goods, services, or commercial activities by another person.” Paulsson

Geophysical Servs., Inc., 529 F.3d at 309 (quoting 15 U.S.C. § 1125(a)(1)(A)). The

Court first considers whether the plaintiff has a “protectable right in the mark” and

second whether there is a “likelihood of confusion between the marks.” Id.

Ownership is determined by priority of use. Union Nat’l Bank of Laredo, Tex. v.

Union Nat’l Bank of Tex., 909 F.2d 839, 842-43 (5th Cir. 1990) (“The first one to

use the mark is generally held to be the ‘senior’ user and is entitled to enjoin other

‘junior’ users from using the mark, or one that is deceptively similar to it[.]”). Here,

there is no question that Plaintiff owns a valid and protectable mark.

      1.     Plaintiff has Protectable Rights in its GENIE BLUE
             Trademark

      A registered trademark is presumed valid. 15 U.S.C. §§ 1057(b) and 1115(a).

Registration is “prima facie evidence of the validity of the registered mark and of

the registration of the mark, of the registrant’s ownership of the mark, and of the

registrant’s exclusive right to use the registered mark in commerce . . .” Id.


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Accordingly, Plaintiff’s certificates of registration (Exs. 2-5) for its GENIE BLUE

trademark are at least prima facie evidence of its ownership of valid protectable

marks.2

       U.S. Registration No.5,970,650, owned by Plaintiff, explains clearly: “The

color(s) blue is/are claimed as a feature of the mark.” (Ex. 4.) The ‘650 Registration

states that it covers: “the color blue as applied to the base and platform basket of an

elevating work platform.” (Id.) The Registration covers “aerial and elevating work

platforms, scissor lifts” in class 7. (Id.)

       Similarly, U.S. Registration No. 3,540,392, also owned by Plaintiff, explains

clearly: “The color(s) Blue is/are claimed as a feature of the mark.” (Ex. 2.) The ‘392

Registration identifies “mobile elevating work platform” in class 7. (Id.) Moreover,

the ‘392 Registration is incontestable.             “An ‘incontestable’ mark cannot be

challenged as lacking secondary meaning; such marks are conclusively presumed to




       2
         In addition to the evidence provided by the numerous registrations, Plaintiff submitted
evidence of long-standing and exclusive use of the color blue in the relevant market, evidence of
extensive sales and advertising including advertising specifically directly related to looking for
GENIE BLUE, which is compelling evidence of distinctiveness, i.e., secondary meaning, in the
marketplace. (Ex. 1, Meyers Decl. at ¶¶ 5-9.) In addition to such evidence, Plaintiff also submits
that Sinoboom’s copying of GENIE BLUE when it previously used a red color scheme is “strong”
evidence of secondary meaning because “there is no logical reason” for Sinoboom’s copying
except to “attempt to realize upon a secondary meaning in existence.” Amid, Inc. v. Medic Alert
Found. U.S., Inc., 241 F.Supp.3d 788, 818 (S.D. Tex. 2017) (quoting Ferrari S.P.A. v. Roberts,
944 F.2d 1235, 1239 (6th Cir. 1991); DAP Prods., Inc. v. Color Tile Mfg., Inc., 821 F.Supp. 488,
492 (S.D. Ohio 1993) (Secondary meaning can be presumed where a court can infer that the
defendant intentionally copied plaintiff’s color scheme.).


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be nondescriptive or to have acquired secondary meaning.” Soweco, Inc. v. Shell Oil

Co., 617 F.2d 1178, 1184-85 (5th Cir. 1980) (citation omitted).

      2.     There is a Substantial Likelihood of Confusion
             Between the Plaintiff’s GENIE BLUE Trademarks
             and the Defendant’s Infringing Use

      In the Fifth Circuit, Courts look at the following non-exhaustive list of so-

called “digits of confusion,” to assess the likelihood of confusion: “(1) strength of

the plaintiff’s mark; (2) similarity of design between the marks; (3) similarity of the

products; (4) identity of retail outlets and purchasers; (5) similarity of advertising

media used; (6) the defendant’s intent; (7) actual confusion; and (8) degree of care

exercised by potential purchasers.” Am. Rice, Inc. v. Producers Rice Mill, Inc., 518

F.3d 321, 329 (5th Cir. 2008).

             a.     Factor 1: GENIE BLUE Trademark Is Strong

      Simply, stronger marks deserve greater protection because there is an

increased likelihood that consumers will confuse the junior user’s mark with that of

the senior user.” Global Healing Ctr. LP, 2014 U.S. Dist. LEXIS 28686, at *14

(citation omitted). The strength of a trademark in the marketplace is measured by its

effectiveness in identifying a source of goods.” Quantum Fitness Corp., 83

F.Supp.2d at 818-19.

      Plaintiff’s GENIE BLUE trademark enjoys extensive commercial strength.

First, Plaintiff has continuously and exclusively used its distinctive GENIE BLUE


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trademark in connection with the sale of its lift products throughout the United States

for well over thirty (30) years. (Ex. 1, Meyers Decl. at ¶ 3.) See Gruma Corp. v.

Mexican Rests., Inc., 497 Fed. Appx. 392, 396 (5th Cir. 2012)(finding substantial

exclusive use of the mark to weight in favor of the mark owner).

      Second, the GENIE BLUE trademark has been subject to tens of millions of

dollars’ worth of advertising by Plaintiff, including advertising focused on

conveying that GENIE BLUE is a valuable trademark. (Ex. 1, Myers Decl. at ¶¶ 7-

9: Advertising highlighting “THE COLOR OF CONFIDENCE” and to “THINK

BLUE.”) Such advertisement campaigns contributed to Plaintiff’s products’

widespread public recognition and generated substantial goodwill. Homax Prod.,

Inc. v. Homax, Inc., No. H-08-cv-01560, 2009 U.S. Dist. LEXIS 126699, at *17

(S.D. Tex. Aug. 5, 2009) (“Marks may be strengthened [in the marketplace] by

extensive advertising, length of time in business, public recognition, and

uniqueness.”) (modification in original) (citation omitted). Indeed, in this Circuit,

courts routinely find marks that are subject to extensive advertising and have been

in exclusive use by a mark owner for long periods of time are strong and entitled to

greater protection. See e.g., Bd. of Regents of the Univ. of Houston Sys. v. Houston

Coll. of Law, Inc., 4:16-CV-1839, 214 F.Supp.3d 573 (S.D. Tex. 2016); Homax

Prod., Inc., 2009 U.S. Dist. LEXIS 126699, at *17 (holding that evidence indicating

advertising spending of several million dollars per year, use of the mark for 27 years,


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and substantial market share and gross sales establishes “a relatively strong position

in the marketplace,” and rejecting defendant’s argument that direct evidence (e.g.,

consumer surveys) is required to indicate market strength); Quantum Fitness Corp.,

83 F.Supp.2d at 819 (holding that plaintiff had “established a relatively strong mark

within the fitness industry” based on $1 million in advertising expenses over a

roughly eight year period, distribution of 100,000 promotional brochures, and

extensive and favorable reports in industry publications).

      Third, numerous people in the industry have made declarations regarding the

unparalleled strength of the GENIE BLUE trademark in the marketplace. Exhibit 7

includes multiple declarations that include industry statements such as: “The color

blue is immediately recognized in my mind with the ‘Genie’ line of aerial and

elevating work platforms and scissor lifts;” “I and others refer to Genie equipment

by the color blue and I am not aware of any other companies that manufacture or sell

this equipment in the color blue;” “[Blue] uniquely sets its Brand from others,” and

“Customers, dealers, and manufacturers alike all associate the Genie Blue color with

Genie [branded] lifts.” See Viacom Int’l, Inc. v. IJR Capital Invs., L.L.C., 891 F.3d

178, 190 (5th Cir. 2018) (stating that “direct consumer testimony” is one of the

factors that courts in the Fifth Circuit consider to determine whether a mark has

acquired secondary meaning).




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      Accordingly, in view of Plaintiff’s decades-long and exclusive use, Plaintiff’s

substantial advertising of its products in connection with its GENIE BLUE

trademark, incontestability of a federally registered mark, and substantial consumer

testimony, Plaintiff’s GENIE BLUE trademark is strong and subject to great

protection. This factor heavily favors a finding of confusion.

             b.     Factor 2: Plaintiff’s Trademark and
                    Defendant’s Replica are, if Not the Same,
                    Substantially Similar

      “The Fifth Circuit uses a ‘subjective eyeball test’ to determine whether two

marks are similar.” T-Mobile US, Inc. v. Aio Wireless LLC, 991 F.Supp.2d 888, 921

(S.D. Tex. 2014) (quoting Exxon Corp. v. Tex. Motor Exchange of Houston, Inc.,

628 F.2d 500, 504 (5th Cir. 1980)). In other words, “[t]he similarity of design is

determined by considering the overall impression created by the mark as a whole

rather than simply comparing individual features of the marks.” Exxon Corp., 628

F.2d at 504-05.

      In this case, by using the “subjective eyeball test,” it is readily evident that the

Defendant’s infringing use is—if not the same—substantially similar to the

Plaintiff’s registered trademark for the color blue. Indeed, the image below shows

that the Defendant’s infringing use of the Plaintiff’s mark renders its products almost

indistinguishable from Plaintiff’s products.




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      In the example shown above, both the Plaintiff’s scissor lift and the

Defendant’s infringing scissor lift use blue color for the base and the platform basket,

and both use a gray color in connection with the extending ladder. This brazen

copying of the Plaintiff’s GENIE BLUE trademark, both objectively and

subjectively, is likely to result in confusion. Id. at 505 (“Obviously, the greater the

similarity in the design of the trademarks, the greater the likelihood of confusion.”).

This factor heavily favors Plaintiff.

             c.     Factor 3: Parties Sell the Same Products

      “The greater the similarity between the products and services, the greater the

likelihood of confusion.” Elvis Presley Enters. v. Capece, 141 F.3d 188, 202 (5th

Cir. 1998) (citing Exxon Corp., 628 F.2d at 505). Here, both Plaintiff and Defendant

promote, advertise, and sell the same products. More specifically, both parties sell

“mobile elevating work platforms” and “aerial and elevated work platforms, scissor

lifts” and also both more specifically sell telescopic boom lifts, articulating boom


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lifts, scissor lifts, and vertical lifts. (Ex. 1, Meyers Decl. at ¶ 12.) The Plaintiff and

the Defendant are in direct competition with each other which exacerbate the

likelihood of confusion. Abraham v. Alpha Chi Omega, 781 F.Supp.2d 396, 421

(N.D. Tex. 2011) (finding the identical nature of the products and direct competition

between the parties to weigh heavily in favor of likelihood of confusion). This factor

heavily favors Plaintiff and confirms the ultimate conclusion that confusion is likely.

Elvis Presley Enters., 141 F.3d at 201 (5th Cir. 1998) (“The relevant inquiry is

whether, under the circumstances of the use, the marks are sufficiently similar that

prospective purchasers are likely to believe that the two users are somehow

associated.”) (internal quotation mark and citation omitted).

             d.     Factor 4: The Purchasers and Retail Channels
                    are Substantially Identical

      “Differences in the parties’ customer bases can lessen the likelihood of

confusion.” Bd. of Regents of the Univ. of Houston Sys., 214 F.Supp.3d at 589. Here,

given that both parties sell the same products, there can be no dispute that the parties

target the same segments of the market. (Ex. 1, Myers Decl. at ¶ 15.) In fact, “[t]he

group of consumers seeking to purchase” from Sinoboom “would overlap almost

completely with the group of consumers seeking to purchase” from Terex; “this

similarity would indicate confusion under the fourth digit.” T-Mobile US, Inc., 991

F.Supp.2d at 916 (finding the fourth digit of confusion “weighs heavily” in favor of




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Plaintiff) (citing Scott Fetzer Co. v. House of Vacuums, Inc., 381 F.3d 477, 485 (5th

Cir. 2004)). This factor, too, heavily favors a finding of confusion.

             e.     Factor 5: The Marketing Efforts are
                    Substantially Identical

      “Courts also consider is [sic] the similarity between parties’ marketing efforts:

‘the greater the degree of overlap in the marketing approaches of the two entities,

the greater the likelihood of confusion.” Quantum Fitness Corp., 83 F.Supp.2d at

827 (quoting Heartsprings, Inc. v. Heartspring, Inc., 143 F.3d 550, 555 (10th

Cir.), cert. denied, 525 U.S. 964 (1998)). In this case, there can be no reasonable

dispute that parties use similar marketing efforts. (Ex. 1, Myers Decl. at ¶ 15.) Both

parties use press releases, catalogs, advertisements, online presence, and trade shows

to promote their products. Because the advertising channels are essentially identical,

this factor favors a finding of likelihood of confusion. See T-Mobile US, Inc., 991

F.Supp.2d at 921.

             f.     Factor 6: Sinoboom’s Intent to Confuse
                    Strongly Favors Confusion

      “Proof of the defendant’s intent to benefit from the good reputation of the

plaintiff’s products is not required in order to establish infringement.” Am. Rice, Inc.,

518 F.3d at 332. Intent of defendants, however, “in adopting (their mark) is a critical

factor, since if the mark was adopted with the intent of deriving benefit from the

reputation of (the plaintiff,) that fact alone may be sufficient to justify the inference


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that there is confusing similarity.” Chevron Chem. Co. v. Voluntary Purchasing

Groups, Inc., 659 F.2d 695, 703-04 (5th Cir. 1981) (emphasis and boldface added).

      Here, Sinoboom’s intent to confuse can be inferred from its conduct.

Particularly, Sinoboom China has used a red color scheme to advertise and sell its

products. Indeed, Sinoboom North America (the Defendant) used the red color

scheme in the United States. Then, as it is expanding in the United States, Sinoboom

has a change of heart and undergoes a full product line-up color change. (Ex. 1 at

Ex. C.) A recent press article shows the 2021 change of plans in the United States

to trade off-of the Plaintiff by the abrupt change from red to blue. (Ex. 8.)




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       Sinoboom cannot claim ignorance. Sinoboom certainly knows about the

valuable GENIE BLUE trademark. 3 With this knowledge, Sinoboom intentionally

copied the registered color blue. (Ex. 1, Myers Decl. at ¶ 17.) There can be only one

reason for this conduct: to trade off the extensive goodwill and reputation that

GENIE BLUE has developed in the U.S. market over the last three decades. This

fact alone is sufficient to justify a likelihood of confusion, Am. Rice, Inc., 518 F.3d

at 332, but certainly, this factor favors a finding of a likelihood of confusion.

              g.     Factor 7: Actual Confusion is Inevitable

       Given the very recent entry of Sinoboom to the U.S. market using the

Plaintiff’s GENIE BLUE trademark, the early stage of proceedings, and absent

discovery, Plaintiff is not in a position to offer substantial proof of actual confusion.

Proof of actual confusion, however, is not necessary. Roto-Rooter Corp. v. O’Neal,

513 F.2d 44, 45 (5th Cir. 1975) (“Proof of actual confusion is not necessary—

likelihood of confusion is the appropriate inquiry.”) (citations omitted). Here, as

established by the remaining likelihood of confusion factors, Sinoboom’s use of the

Plaintiff’s GENIE BLUE trademark is highly likely to result in confusion. Since,

likelihood of confusion is the appropriate inquiry, and proof of actual confusion is

not necessary, this factor, too, favors the Plaintiff. Id. At the very least this factor is


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         Sinoboom’s recently appointed North American director of sales, Paul Waller, was
previously employed by Terex in a sales and marketing capacity for the Genie line of products.
(Ex. 9.)


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neutral. Elvis Presley Enters., 141 F.3d at 194 (“No one factor is dispositive, and a

finding of a likelihood of confusion does not even require a positive finding on any

these ‘digits of confusion.’”).

             h.     Factor 8: Customers and Users Are Not
                    Necessarily Involved In The Sale Further
                    Favoring Confusion

      Finally, courts consider how much care potential purchasers will exercise

when purchasing the parties’ products. The more sophisticated consumers are less

likely to be misled by similarity in marks. Homax Prod., Inc., 2009 U.S. Dist.

LEXIS 126699, at *34. In this case, some purchasers may not be able to differentiate

between Plaintiff’s and Defendant’s products at the time of purchase.               But

furthermore, customers, users and other members of the relevant public that are not

involved at the time of purchase are particularly significant here. These individuals

will easily be confused as to the products’ source or the endorsement, connection,

and affiliation of the parties given the substantial similarity of the marks and

products at hand. Boston Professional Hockey Ass’n, 510 F.2d at 1012; Joy Mfg.

Co. v. CGM Valve & Gauge Co., 730 F.Supp. 1387, 1394 (S.D. Tex. 1989) (“The

likelihood of confusion is not limited to confusion at the initial point of sale; it can

be at any point in the chain of distribution or ownership, including post-sale

confusion of third parties who later encounter the product.”) (citing Lois Sportswear,

USA v. Levi Strauss & Co., 799 F.2d 867, 872 (2d Cir. 1986)).


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       Moreover, even if some purchasers are eventually able to distinguish between

the parties’ products at the point of sale, “[i]nfringement can be based upon

confusion that creates initial consumer interest, even though no actual sale is finally

completed as a result of the confusion.” Elvis Presley Enters., 141 F.3d at

204 (citation and quotations omitted). Initial-interest confusion “gives the junior

user credibility during the early stages of a transaction and can possibly bar the

senior user from consideration by the consumer once the confusion is

dissipated.” Id. (citation omitted).

       In this case, given the substantial similarity of the marks, Sinoboom’s use of

the Plaintiff’s GENIE BLUE trademark causes substantial initial confusion and post-

sale confusion. This confusion is very significant here as there are numerous relevant

customers and users that may not be involved in a particular purchase decision. This

factor, too, supports a finding of a likelihood of confusion.

B.     If Not Enjoined, Plaintiff Will be Irreparably Harmed by
       Sinoboom’s Conduct

       In trademark infringement actions, the loss of a plaintiff’s control over its own

reputation and goodwill is deemed an irreparable injury for which preliminary relief

is appropriate. Quantum Fitness Corp., 83 F.Supp.2d at 831; TGI Friday’s, Inc v.

Great Northwest Rests., Inc., 652 F.Supp.2d 763, 772 (N.D. Tex. 2009). A rebuttable

presumption of irreparable harm was recently codified in the Trademark

Modernization Act of 2020. There is good reason for this codification as loss of

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control over reputation and goodwill that exists here is nearly impossible to quantify.

(Ex. 1, Myers Decl. at ¶ 18.) As such, monetary damages are simply not adequate

to compensate the mark owner for the injury sustained. Here, Plaintiff does not have

any control over the quality of Sinoboom’s products and is at a significant risk of

loss of well-earned reputation if Sinoboom’s products have inferior quality, because

consumers will assume an affiliation, connection, or endorsement between the

Plaintiff and Sinoboom. “To show that it has lost control of its reputation, [Genie]

does not have to prove that the Defendants are offering inferior services, only that

there is the possibility that the services or goods are not to the satisfaction of

[Genie].” Fletcher’s Original State Fair Corny Dogs, LLC v. Fletcher-Warner

Holdings LLC, No. 4:19-CV-681-SDJ, 2020 U.S. Dist. LEXIS 28613, at *40 (E.D.

Tex. Jan. 17, 2020) (citing Paulsson, 529 F.3d at 313).

      Indeed, given the almost inevitable likelihood of confusion between the

parties’ products, irreparable harm exists (Ex. 1 at ¶ 18) that cannot be rebutted.

Abraham, 708 F.3d at 627 (5th Cir. 2013) (“[a]ll that must be proven to establish

liability and the need for an injunction against infringement is the likelihood of

confusion—injury is presumed”)(quoting McCarthy on Trademarks and Unfair

Competition). This is bolstered by this court’s recognition that “[w]here the

infringement involves direct competitors, a finding of irreparable harm may well be

appropriate” See Clearline Tech. Ltd, 948 F.Supp.2d at 715.


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C.     The Balance of Hardship Weighs Heavily in Favor of the
       Plaintiff

       Having announced its plans to undergo a color change on January 19, 2021,

Sinoboom has only just begun infringing Plaintiff’s GENIE BLUE trademarks.

Given the extremely short period of time since this announcement, it is reasonable

to assume that Sinoboom will hardly face any hardship. Plaintiff is asking only that

Sinoboom not use Plaintiff’s GENIE BLUE trademark. Plaintiff is not asking

Sinoboom to stop its operation, manufacture, or sale of its products. Sinoboom has

been selling its product since 2008 using a red color scheme and could easily resume

using that color to maintain the status quo. There is no reason to assume it will face

any hardship if it is enjoined from using Plaintiff’s GENIE BLUE trademark until

the final disposition of this matter by the Court.

       Plaintiff, on the other hand, has been using its GENIE BLUE trademarks in

connection with the promotion, advertisement, and sale of its products since at least

as early as 1986. In doing so, Plaintiff has spent tens of millions of dollars

advertising its products to build a stellar reputation and substantial goodwill. (Ex. 1,

Myers Decl. at ¶ 9.) Plaintiff should not have to lose its exclusivity of the use of its

duly registered GENIE BLUE trademark and risk its reputation. This is especially

true, given Sinoboom’s brazen copying of the Plaintiff’s marks. Fletcher’s Original

State Fair Corny Dogs, LLC, 2020 U.S. Dist. LEXIS 28613, at *42 (“The burden of

losing control of its mark, the loss of customers, and the harm to [mark owner’s]

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reputation and goodwill are greater than the cost to Defendants, who have failed to

identify any cost to them not created by their own likely infringing activities.”); see

also TGI Friday’s Inc. 652 F.Supp.2d at 773 (noting that “courts usually hold that

when defendants improperly use a plaintiff’s trademark, the threatened harm to the

plaintiff outweighs the threatened harm to the defendants”)(citation omitted).

       The balance of hardship favors the Plaintiff and entry of the injunction.

D.     A Preliminary Injunction Will Not Disserve the Public
       Interest

       Not only would a preliminary injunction not disserve the public, but also

would serve the public interest. The public has a substantial interest not to be

confused and its interest is “always served by requiring compliance with

Congressional statutes such as the Lanham Act and by enjoining the use of infringing

marks.” Quantum Fitness Corp., 83 F.Supp.2d at 832 (citations omitted). The public

has a substantial interest in being able to confidently choose the products that it

knows and has learned to trust over the years. In fact, the public interest is the

public’s right not to be deceived or confused. Blue Bell Creameries, L.P. v. Denali

Co., LLC, No. H-08-0981, 2008 U.S. Dist. LEXIS 58083, at *21 (S.D. Tex. July 31,

2008) (citing S&R Corp. v. Jiffy Lube Intern., Inc., 968 F.2d 371, 379 (3d Cir. 1992)).

The public interest factor weighs in favor of granting the injunction.




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                        V.    CONCLUSION

      For the foregoing reasons, Plaintiff is respectfully requesting that this Court

grant its Application for Preliminary Injunction and enter the preliminary injunction

prohibiting Sinoboom from advertising or promoting its aerial products using the

color blue.

                                Respectfully submitted,

Dated:   January 29, 2021                 /s/ Clyde Siebman
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